Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 1 of 23




           EXHIBIT 1-E




                                                               App. 117
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 2 of 23




                                                               App. 118
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 3 of 23




                                                               App. 119
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 4 of 23




                                                               App. 120
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 5 of 23




                                                               App. 121
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 6 of 23




                                                               App. 122
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 7 of 23




                                                               App. 123
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 8 of 23




                                                               App. 124
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 9 of 23




                                                               App. 125
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 10 of 23




                                                               App. 126
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 11 of 23




                                                               App. 127
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 12 of 23




                                                               App. 128
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 13 of 23




                                                               App. 129
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 14 of 23




                                                               App. 130
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 15 of 23




                                                               App. 131
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 16 of 23




                                                                       App. 132
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 17 of 23




                                                               App. 133
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 18 of 23




                                                               App. 134
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 19 of 23




                                                               App. 135
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 20 of 23




                                                               App. 136
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 21 of 23




                                                               App. 137
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 22 of 23




                                                               App. 138
Case 1:18-cv-00195-DMT-CRH Document 120 Filed 04/28/20 Page 23 of 23




                                                               App. 139
